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      IN THE UNITED STATES COURT OF APPEALS
              FOR THE NINTH CIRCUIT



                          No. 13-55552


                 RONALD D. ALLEN JR.; et al.,
                       Plaintiffs-Appellants,
                            v.
                   ROBERT H. SMITH; et al.,
                      Defendants-Appellees.


              From the United States District Court,
                 Southern District of California
               Case No. 3:12-cv-01668 WQH-KSC
                 (Honorable William Q. Hayes)

   UNOPPOSED MOTION FOR EXTENSION OF TIME
TO FILE DEFENDANTS-APPELLEES’ ANSWERING BRIEF
DECLARATION OF IAN BARKER IN SUPPORT THEREOF



                   PAULA M. YOST (156843)
                   IAN R. BARKER (240223)
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            ATTORNEYS FOR DEFENDANTS-APPELLEES
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      Defendants-Appellees Robert H. Smith, Leroy H. Miranda Jr., Kilma S.

Lattin, Theresa J. Nieto and Dion Perez (“Defendants-Appellees”), hereby move

for a 60-day extension of time in which to file Defendants-Appellee’s Answering

Brief, extending the deadline for filing to November 8, 2013. The motion is made

pursuant to Ninth Circuit Rule 31-2.2(b) and is unopposed by Plaintiffs-

Appellants. The current due date for the Answering Brief is September 9, 2013.

      Good cause exists to extend the deadline for filing Defendants-Appellees’

Opening Brief. Counsel for Defendants-Appellees expect to have an answering

brief due before this Court in Shingle Springs Band of Miwok Indians v. Caballero,

No. 13-15411, in late September 2013. Because that appeal is from a final

judgment in a case pending for five years, counsel likely will avail themselves of

the streamlined 30-day extension request, making that brief due at the end of

October 2013. Two of the three counsel for Defendants-Appellees have also been

deeply involved in due diligence on a half-billion dollar refinancing offering,

which is not due to close until August, 29, 2013. One of Defendants-Appellees’

counsel has a preplanned, prepaid vacation scheduled for August 25 through

September 2, 2013.

      Counsel for Defendants-Appellees are also considering consulting with and

exchanging drafts with specialized appellate counsel, which would require

accommodation of the schedules of these counsel and require additional time.
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      Although counsel have exercised diligence in working on the Answering

Brief, it would be impracticable for Defendants-Appellees to file the brief by the

deadline of September 9, 2013, given counsel’s other professional and personal

commitments and the potential need to consult and collaborate with other counsel.

To accommodate these scheduling issues and to avoid the need to burden this

Court with future requests for extensions, Defendants-Appellees respectfully

submit that a 60-day extension of the current deadline, to November 8, 2013, is

warranted.

      Defendants-Appellees have not previously requested an extension of time to

file their Answering Brief. Plaintiffs-Appellants requested and were granted a 30-

day extension to file their Opening Brief.



DATED: August 21, 2013                 DENTONS US LLP


                                       By /s/ Ian Barker
                                       IAN BARKER
                                       Attorney for Defendants-Appellees
                                       ROBERT H. SMITH, LEROY H. MIRANDA
                                       JR., KILMA S. LATTIN, THERESA J.
                                       NIETO AND DION PEREZ
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           DECLARATION OF IAN BARKER IN SUPPORT OF
          UNOPPOSED MOTION FOR EXTENSION OF TIME
       TO FILE DEFENDANTS-APPELLEES’ ANSWERING BRIEF
      I, Ian Barker, hereby declare as follows:

      1.      I am an associate with the law firm of Dentons US LLP and am

counsel of record for Defendants-Appellees Robert H. Smith, Leroy H. Miranda

Jr., Kilma S. Lattin, Theresa J. Nieto and Dion Perez (“Defendants-Appellees”). I

make this declaration of my own personal knowledge, and, if called as a witness, I

could and would testify competently to the facts set forth below.

      2.      The current due date for Defendants-Appellees’ Answering Brief in

this Case is September 9, 2013.

      3.      Paula Yost, Sara Setshwaelo, and I, counsel for Defendants-Appellees

in this case, expect to have an answering brief due before this Court in Shingle

Springs Band of Miwok Indians v. Caballero, No. 13-15411 (“Caballero”), on

September 25, 2013. Because Caballero is an appeal from a final judgment in a

case pending for five years, counsel likely will need to avail themselves of the

streamlined 30-day extension request, making that brief due at the end of October

2013. Ms. Yost and Ms. Setshwaelo have also been deeply involved in the due

diligence work on a half-billion dollar refinancing offering, which is not due to

close until August 29, 2013. I have a preplanned, prepaid vacation scheduled for

August 25 through September 2, 2013.
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        4.      Counsel for Defendants-Appellees are also considering consulting

with and exchanging drafts with specialized appellate counsel, which would

require accommodation of the schedules of these counsel and require additional

time.

        5.      Defendants-Appellees respectfully submit that a 60-day extension of

the current deadline is warranted, in light of counsel’s other professional and

personal commitments and the potential need to consult and collaborate with other

counsel on this brief.

        6.      Defendants-Appellees have exercised diligence with regard to the

filing of the Answering Brief and believe that the extension will allow it to be filed

within the time requested.

        7.      Defendants-Appellees have not previously requested an extension of

time to file their Answering Brief. Plaintiffs-Appellants requested and were

granted a 30-day extension to file their Opening Brief.

        8.      The court reporter is not in default with regard to any designated

transcripts.

        9.      I have contacted Elizabeth P. Lin, counsel for Plaintiffs-Appellants to

notify her that Defendants-Appellees are seeking a 60-day extension of time for the

Answering Brief. Ms. Lin stated that she does not oppose the extension.
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      I declare under penalty of perjury under the laws of the United States that

the foregoing is true and correct to the best of my knowledge.

      Executed in Oakland, California on August 21, 2013.



                                      /s/ Ian Barker
                                      IAN BARKER
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                                 PROOF OF SERVICE


      I hereby certify that I electronically filed the foregoing with the Clerk of the
Court for the United States Court of Appeals for the Ninth Circuit by using the
appellate CM/ECF system on August 21, 2013.

       I certify that all participants in the case are registered CM/ECF users and
that service will be accomplished by the appellate CM/ECF system.

           Executed on August 21, 2013, at Oakland, California.


                                          /s/ Ian Barker
                                          IAN BARKER




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